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                                                                             FILED
                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA                     l MAR 15 2012 ]
                                                                        CLERK, U.S. DISTRICT COURT
                                                                    SOUTHERN DISTRICT OF CAUFORNIA
UNITED STATES OF AMERICA,                  CASE NO. 12CR0195-L BY                             DEPUTY

                       Plaintiff,
               vs.                         JUDGMENT OF DISMISSAL
MARK ANTHONY GONZALEZ (2),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

~    the Court has granted the motion of the Government for dismissal; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

~    of the offense(s) on the Information of:




21:952 and 960; 18:2
          IT IS THEREFORE                                                      ischarged.




DATED: 3/15/12
                                                     S PORTER
                                                     STATES MAGISTRATE JUDGE




                                            ENTERED ON
